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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                              CASE NO. 2:12-CR-0185-1 TLN

12                                  Plaintiff,              ORDER SEALING DOCUMENTS AS SET FORTH
                                                            IN GOVERNMENT’S NOTICE
13                           v.

14   ROBB CHEAL,

15                                  Defendant.

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17
             Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
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     Request to Seal, IT IS HEREBY ORDERED that both the four-page document filed with the Court in
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     connection with the criminal prosecution of defendant Robb Cheal and the Government’s Request to
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     Seal shall be SEALED until further order of this Court.
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             It is further ordered that access to the sealed documents shall be limited to the government and
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     counsel for the defendant.
23
             The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court for
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     the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the
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     Government’s request, sealing the supplemental plea agreement and the Government’s Request to Seal
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     serves a compelling interest. The Court further finds that, in the absence of closure, the compelling interests
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     ///
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       ORDER SEALING DOCUMENTS AS SET FORTH IN              1
30     GOVERNMENT’S NOTICE
              Case 2:12-cr-00185-TLN Document 256 Filed 11/20/17 Page 2 of 2

 1 identified by the Government would be harmed. In light of the public filing of its request to seal, the Court

 2 further finds that there are no additional alternatives to sealing that would adequately protect the compelling

 3 interests identified by the Government.

 4 Dated: November 20, 2017

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 7                                                                    Troy L. Nunley
                                                                      United States District Judge
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      ORDER SEALING DOCUMENTS AS SET FORTH IN              2
30    GOVERNMENT’S NOTICE
